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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                      CASE NO: 8:00-CR-186-T-30TBM

 SERGES JACQUES DESCENT
 _________________________________________/

                                          ORDER

        THIS CAUSE is before the Court on the letter/motion (Dkt. #322) of Serges Jacques

 Descent, dated October 1, 2007, in which Defendant asserts that when the Eleventh Circuit

 vacated and remanded his case for entry of a new forfeiture judgment in the lower amount

 of $1,288,140, this Court entered the lower forfeiture judgment but did not alter his sentence.

 He argues that his sentence should have been reduced because the base offense level in the

 guidelines would have been reduced when the forfeiture amount was reduced below

 $1,500,000. Since the letter/motion (Dkt. #322) requests relief in the form of a reduced

 sentence, it will be treated as a petition under 28 U.S.C. §2255.

        Defendant’s petition will be denied for several reasons. First, Defendant confuses the

 amount used in the forfeiture judgment with the amount used in calculating the guidelines.

 The amount used for calculating the guidelines includes other intended losses of the

 conspiracy. The total loss, including other intended losses, exceeds $1,500,000. Therefore,

 the guidelines used in calculating Defendant’s sentence was the appropriate guideline

 calculation. In addition, the petition is denied because it is untimely.
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         Therefore, Defendant’s petition (Dkt. #322) is hereby DENIED.

         DONE and ORDERED in Tampa, Florida on October 17, 2007.




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